 Case 2:06-cr-20411-RHC-SDP ECF No. 60, PageID.79 Filed 12/15/06 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                Case No. 06-CR-20411-DT

D-1 - RUDOLPH DALRON WILLIAMS,
D-2 - FRANK PIERCE,
D-3 - DARRYL PIERCE,
D-4 - DERRICK YOUNG,
D-5 - CLARENCE JACKSON,

              Defendants.

                                          /

        ORDER REGARDING INTERIM PAYMENTS FOR EXPERT SERVICES

       Because of the expected length of the trial in this case, and the anticipated

hardship on persons providing services pursuant to 18 U.S.C. § 3006A(e) and 18

U.S.C. § 3599(f) and (g)(2) for such a period without payment, in accordance with

paragraph 6.03 D of the Guidelines for the Administration of the Criminal Justice Act

and Related Statutes, Volume VII, Guide to Judiciary Policies and Procedures, the

following procedures for interim payments shall apply during the period of time in which

experts provide services in connection with this case.

                            I. SUBMISSION OF VOUCHERS

       Persons providing services under 18 U.S.C. § 3006A(e) and 18 U.S.C. § 3599(f)

and (g)(2) shall submit to the court clerk, after expending total of at least $3,000.00 in

either time or expenses, an interim CJA Form 31, “Authorization and Voucher for Expert

and Other Services.” Compensation earned, and reimbursable expenses incurred, after
 Case 2:06-cr-20411-RHC-SDP ECF No. 60, PageID.80 Filed 12/15/06 Page 2 of 4




the first $3,000.00 shall be submitted in increments of $3,000.00 or more through final

disposition of this case. Each voucher shall be numbered when processed for payment.

Experts must complete item 17 on the form for each interim voucher submitted. All

interim vouchers shall be supported by detailed and itemized time and expense

statements. Chapter VI, as well as the applicable provisions of Chapter III of the

Guidelines for the Administration of the Criminal Justice Act, outlines the procedures

and rules for claims by persons providing services pursuant to 18 U.S.C. § 3006A(e)

and 18 U.S.C. § 3599(f) and (g)(2) and should be followed regarding each voucher.

       The court will review the interim vouchers when submitted, particularly with

regard to the amount of time claimed, and will authorize compensation to be paid for the

approved number of hours. The court will also authorize for payment all reimbursable

expenses reasonably incurred. The approved interim vouchers will then be forwarded

to the Sixth Circuit for review and approval. Following approval by the Sixth Circuit, the

interim vouchers will be submitted for payment.

       At the conclusion of the representation, the expert shall submit a final voucher

seeking payment for representation provided during the final interim period. The final

voucher shall set forth in detail the time and expenses claimed for the entire case,

including all relevant documentation. A statement should be attached to the voucher

which reflects all compensation and reimbursement previously received on the

appropriate line of the final voucher, as well as the net amount remaining to be paid at

the conclusion of the case. After reviewing the final voucher, the court will submit it to

the Sixth Circuit for review and approval.



                                             2
Case 2:06-cr-20411-RHC-SDP ECF No. 60, PageID.81 Filed 12/15/06 Page 3 of 4




                            II. REIMBURSABLE EXPENSES

       Persons providing services under 18 U.S.C. § 3006A(e) and 18 U.S.C. § 3599(f)

and (g)(2) may be reimbursed for out-of-pocket expenses reasonably incurred incident

to the rendering of services.

       The following additional guidelines may be helpful:

A.     Case-related travel by privately owned automobile should be claimed at the rate

       of 44.5 cents per mile, plus parking fees, ferry fares, and bridge, road and tunnel

       tolls. Transportation other than by privately owned automobile should be claimed

       on an actual expense basis. Air travel in “first class” is prohibited. Persons

       providing service under the CJA are required to contact the Financial Department

       (313-234-5070) for air travel authorization at government rates.

B.     Actual expenses incurred for meals and lodging while traveling outside of the

       county of Wayne in the course of this representation must conform to the

       prevailing limitations placed upon travel and subsistence expenses of federal

       judiciary employees in accordance with existing government travel regulations.

       Consult the clerk’s office for specific details concerning high-cost areas.

C.     Telephone toll calls, telegrams, photocopying and photographs can all be

       reimbursable expenses if reasonably incurred. However, general office

       overhead, such as rent, secretarial help and telephone service, is not a

       reimbursable expense, nor are items of a personal nature. In addition, expenses

       for service of subpoenas on fact witnesses are not reimbursable, but rather are

       governed by Federal Rule of Criminal Procedure 17 and 28 U.S.C. § 1825.



                                             3
 Case 2:06-cr-20411-RHC-SDP ECF No. 60, PageID.82 Filed 12/15/06 Page 4 of 4




                                    III. FURTHER QUESTIONS OR GUIDANCE

           Answers to questions concerning services provided pursuant to 18 U.S.C. §

3006A(e) and 18 U.S.C. § 3599(f) and (g)(2) can generally be found in (1) these

statutes; (2) the Plan of the United States District Court for the Eastern District of

Michigan, available through the clerk’s office; and (3) the Guidelines for the

Administration of the Criminal Justice Act, published by the Administrative Office of the

U.S. Courts, also available through the clerk’s office. Should these references fail to

provide the desired clarification or direction, inquiries may be made directly to the court

or the court’s staff.



                                                                    s/Robert H. Cleland
                                                                    ROBERT H. CLELAND
                                                                    UNITED STATES DISTRICT JUDGE
Dated: December 15, 2006


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, December 15, 2006, by electronic and/or ordinary mail.


                                                                    s/Lisa G. Wagner
                                                                    Case Manager and Deputy Clerk
                                                                    (313) 234-5522




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